Case 1:02-cv-OlOlO-STA Document 30 Filed 08/08/05 Page 1 of 2 Page|D 37

1N THE UNiTED STATES DISTRlCT COURT 0 '\
FOR THE WESTERN DISTRICT OF TENNESSEE `6> 00
EASTERN DWISION 553 1973 '
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Umted States of America, 333 333 3316;.{/,0/33
vs. 02-1010-An ”603 @U?/»

TWenty-Eight Thousand Two Hundred
Seven.ty Dol]ars ($28,270.00) in
U.S. Currency,
M
Upon consideration of the foregoing App]ication in that behalf, it is ORDERED that a Writ
ofHabeas Corpus ad Testiiicandum issue as prayed for herein, for SYDNEY THOMAS FONDREN

IT IS SO ORDERED.

 

Entered this May of , 2005.
cgl/rd /}vmmu h
S.THOMAS ANDERSON
United States Magistrate Judge
Approved:

TERRELL. L. HARRIS
United States Attorney

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CHRIST®’PHER E COTTEN
Assistant United States Attomey

This document entered on the docket sheet Tn compilance
with Hute 58 and,'or_79 (a) FHCP on

sDISTRIC COURT - W TERN DISITRCT oF TENNESSEE

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Christopher E. Cotten

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Honorable S. Anderson
US DISTRICT COURT

